






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





ON MOTION FOR REHEARING








NO. 03-11-0067-CV






Ruth Wheeler, Appellant


v.


John Collier Hinson, Appellee






FROM COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-10-00825, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		We withdraw the opinion and judgment issued herein on May 19, 2011, and substitute
the following opinion in place of the earlier one.

		Appellant Ruth Wheeler field her notice of appeal on February 7, 2011.  On
February&nbsp;22, 2011, this Court received notice that although Wheeler was found not indigent, she
continued to request the district clerk's office of Travis County to prepare a free record.  On
February&nbsp;23, 2011, this Court received a copy of a district court order sustaining a contest to
Wheeler's affidavit of inability to pay costs.  Wheeler has not challenged this order.  On
April&nbsp;26,&nbsp;2011, the Clerk of this Court sent notice to Wheeler requesting that she make arrangements
for the clerk's record and submit a status report regarding this appeal.  The Clerk also notified
appellant that her appeal may be dismissed for want of prosecution if she did not respond to this
Court by May 6, 2011.  See Tex. R. App. P. 37.3(b) (appellate court may dismiss appeal for want of
prosecution if appellant failed to pay or make arrangements to pay the clerk's fee for preparing the
clerk's record unless appellant was entitled to proceed without payment of costs).  On May 6, 2011,
Wheeler filed a letter with this Court stating that she has not made arrangements for the clerk's
record and suggesting that she does not intend to unless this Court assures her that it has jurisdiction
to address the merits of her appeal.  Because Wheeler has failed to pay or make arrangements to pay
the clerk's fee for preparing the clerk's record and is not entitled to proceed without payment of
costs, we dismiss this appeal for want of prosecution.  Tex. R. App. P. 37.3(b).


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Dismissed for Want of Prosecution on Motion for Rehearing

Filed:   July 13, 2011


